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                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                        Richmond Division

 In re:                                                                Case No.
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           LeClairRyan, PLLC,                                          19-34574-KRH

           Debtor                                                      Chapter 7


         AMENDED NOTICE OF (I) APPLICATION FOR ALLOWANCE OF
      COMPENSATION AND EXPENSE REIMBURSEMENT AND RELATED SEAL
           PLEADING AND (II) RESCHEDULED HEARINGS THEREON

        PLEASE TAKE NOTICE that Foley & Lardner LLP (“Foley”), Special Counsel to Lynn
 L. Tavenner, Chapter 7 Trustee (the “Trustee”) of the bankruptcy estate (the “Estate”) of
 LeClairRyan, PLLC filed with the United States Bankruptcy Court for the Eastern District of
 Virginia, Richmond Division (the “Court”) the following:

     1) Final Application for Compensation of Fees and Expenses of Foley & Lardner LLP (the
        “Application”) for the period from January 30, 2020 to July 31, 2023 [Docket No. 1960]
        seeking final approval of (a) hourly compensation in the amount of $1,015,159.20, (b) certain
        contingent compensation in the amount of $1,087,430.18, (c) the reimbursement of expenses
        in the amount of $101,549.39, and (d) Foley’s Contingent Fees in the aggregate amount that is
        the greater of (i) Foley’s hourly rate multiplied by hours expended and (ii) the proportion of
        Foley’s hours invested versus Quinn Emanuel’s hours invested for all contingency-based
        matters for which both Foley and Quinn Emanuel Urquhart & Sullivan LLP rendered services;
        and

     2) Motion Requesting Authorization to Seal Final Application of Foley & Lardner LLP, as
        Special Counsel to the Trustee, for Approval and Allowance of Compensation and
        Reimbursement of Expenses Incurred for the Period from January 30, 2020 through July
        31, 2023 [Docket No. 1958].

 (collectively, the “Pleadings” and each a “Pleading”). You previously received Notices of the
 filing of these Pleadings [Docket Nos. 1959 and 1961] indicating hearings thereon on August
 28, 2023, at 11:00 a.m. Please disregard such prior notices. By agreement of all requisite

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   The principal address of the Debtor as of the petition date was 4405 Cox Road, Glen Allen, Virginia 23060, and
 the last four digits of the Debtor’s federal tax identification number are 2451.


 Paula S. Beran, Esquire (Va. Bar No. 34679)
 Tavenner & Beran, PLC
 20 North Eighth Street, Second Floor
 Richmond, Virginia 23219
 Telephone: (804) 783-8300
 pberan@tb-lawfirm.com
      Counsel for Lynn L. Tavenner, Chapter 7 Trustee
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 Persons, and in accordance with the Local Rules of this Court and the Case Management
 Order as defined below, the hearings thereon have been rescheduled to September 28, 2023,
 at 11:00 a.m. (prevailing Eastern Time)

        UNDER LOCAL BANKRUPTCY RULE 9013-1, UNLESS A WRITTEN
        RESPONSE IN OPPOSITION TO THE PLEADINGS AND SUPPORTING
        MEMORANDUM ARE FILED WITH THE CLERK OF COURT AND SERVED
        AS DIRECTED BELOW BY SEPTEMBER 18, 2023, THE COURT MAY DEEM
        ANY OPPOSITION WAIVED AND TREAT THE PLEADINGS AS CONCEDED.

        HEARINGS TO CONSIDER THE RELIEF REQUESTED IN THE PLEADINGS
        ARE SCHEDULED FOR SEPTEMBER 28, 2023 AT 11:00 A.M. (PREVAILING
        EASTERN TIME AT U.S. BANKRUPTCY COURT, U.S. COURTHOUSE, 701 E.
        BROAD STREET, COURTROOM 5000, RICHMOND, VA 23219.

        PLEASE TAKE FURTHER NOTICE that your rights may be affected. You should
 read the Pleadings carefully and discuss them with your attorney if you have one in this
 Chapter 7 Case. (If you do not have an attorney, you may wish to consult one).

        PLEASE TAKE FURTHER NOTICE that on September 4, 2019, the Court entered the
 Order Establishing Certain Notice, Case Management, and Administrative Procedures [ECF. No.
 38] (the “Case Management Order”), which approved the Notice, Case Management, and
 Administrative Procedures attached as Exhibit 1 to the Case Management Order (the “Case
 Management Procedures”). The Case Management Procedures, among other things, prescribe
 the manner in which Objections must be filed and served and set forth when certain hearings will
 be conducted. A copy of the Case Management Order may be obtained, free of charge, by written
 request to pberan@tb-lawfirm.com or, for a fee, at https://ecf.vaeb.uscourts.gov.

         PLEASE TAKE FURTHER NOTICE that if you do not want the Court to grant the relief
 requested in the Pleadings, or if you want the Court to consider your views on the Pleadings, then
 as indicated previously, by September 18, 2023 (the “Objection Deadline”), you or your attorney
 must:

         File with the Court, either electronically or at the address shown below, a written response
 to the Pleadings pursuant to Rule 9013-1(H of the Local Rules of the United States Bankruptcy
 Court for the Eastern District of Virginia and the Case Management Procedures. If you mail your
 written response to the Court for filing, you must mail it early enough so the Court will receive it
 on or before the Objection Deadline.



 Clerk of the Court
 United States Bankruptcy Court
 701 East Broad Street, Suite 4000
 Richmond, VA 23219



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         In accordance with the Case Management Procedures, you must also serve a copy of your
 written Objection on the Core Parties, the 2002 List Parties, and any Affected Entity.

         PLEASE TAKE FURTHER NOTICE THAT, if any Objection is timely filed, the Court
 will entertain the Pleadings on September 28, 2023, at 11:00 a.m. (prevailing Eastern Time)
 (or such time thereafter as the matter may be heard) at U.S. Bankruptcy Court, U.S. Courthouse,
 701 E. Broad Street, Courtroom 5000, Richmond, VA 23219.

         PLEASE GOVERN YOURSELVES ACCORDINGLY.

  Dated: August 22, 2023                Respectfully submitted,
  Richmond, Virginia
                                        LYNN L. TAVENNER, CHAPTER 7 TRUSTEE

                                           By: /s/ Paula S. Beran
                                           Paula S. Beran, Esquire (VSB No. 34679)
                                           Tavenner & Beran, PLC
                                           20 North 8th Street
                                           Richmond, Virginia 23219
                                           Telephone: (804) 783-8300
                                           pberan@tb-lawfirm.com

                                           Counsel for Lynn L. Tavenner, Chapter 7 Trustee


                         CERTIFICATE OF SERVICE

           Pursuant to the Local Rules of this Court and/or the Case Management Order, I certify
  that on August 22, 2023, a true copy of the foregoing Notice was sent electronically and/or by
  first-class mail to: (a) the Office of the United States Trustee; (b) the Debtor’s 20 Largest
  Unsecured Creditors; (c) all known secured creditors from the Debtor’s Official Form 106D;
  (d) the Core Parties and 2002 List as defined in the Case Management Order; and (e) all
  parties requesting service of pleadings in this Case (as indicated on the Schedule A attached
  to the Court filed copy of this Notice).

                             /s/ Paula S. Beran
                             Counsel for Lynn L. Tavenner, Chapter 7 Trustee




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